Case 1:21-cv-20875-RNS Document 113 Entered on FLSD Docket 05/31/2022 Page 1 of 1




                             United States District Court
                                       for the
                             Southern District of Florida

  BluestarExpo, Inc., Plaintiff,          )
                                          )
  v.                                      ) Civil Action No. 21-20875-Civ-Scola
                                          )
  Jay L. Enis and others, Defendants.     )
        Order Adopting Magistrate Judge’s Report and Recommendation
         This case was referred to United States Magistrate Judge Jonathan
  Goodman, for a report and recommendations on the Plaintiff’s motion to strike
  the Defendants Grovind Srivastava, Syed Abbas, and Soleil Chartered Bank’s
  affirmative defenses (ECF No. 56). Thereafter, Judge Goodman issued a report,
  recommending that the Court grant the motion, in part, and deny it, in part.
  (Rep. of Magistrate, ECF No. 65.) Neither party has filed objections to the report,
  and the time to do so has passed.
         The Court has considered Judge Goodman’s report, the record, and the
  relevant legal authorities. The Court largely adopts Judge Goodman’s report and
  recommendations, but declines to afford the Defendants an unfettered
  opportunity to amend their first-affirmative defense. The Court therefore affirms
  and adopts Judge Goodman’s report and recommendations (ECF No. 65) to the
  extent he recommends striking the Defendants’ third-affirmative defense and
  paragraphs 120 and 123 of their first- and second-affirmative defenses. In
  addition, the Court also intends to strike the remainder of the Defendants’ first-
  affirmative defense but will hold that portion of the order in abeyance, affording
  the Defendants the opportunity to file a motion, seeking leave to amend their
  first-affirmative defense. If the Defendants wish to seek leave to amend and
  believe they have a good-faith basis to do so they must do so on or before June
  6, 2022. If no such motion is filed, the first-affirmative defense will be deemed
  struck in its entirety. The Court thus grants in part and denies in part the
  Plaintiff’s motion to strike (ECF No. 56).
        Done and ordered, at Miami, Florida, on May 27, 2022.

                                              _______________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
